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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

UNITED STATES OF AMERICA
                                                   §
v.                                                 §   Criminal No. 3:07-CR-269-L
                                                   §
JARED CAPIZZI (1)                                  §

                 ORDER ACCEPTING REPORT AND RECOMMENDATION
                    OF THE UNITED STATES MAGISTRATE JUDGE
                          CONCERNING PLEA OF GUILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea

of Guilty, the Consent of the defendant, and the Report and Recommendation Concerning Plea of

Guilty of the United States Magistrate Judge (“Report”), and no objections thereto having been filed

within ten days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned District Judge

determines that the Report of the Magistrate Judge concerning the Plea of Guilty should be accepted.

Based upon the Report of the Magistrate Judge the court finds that the defendant is fully competent

and capable of entering an informed plea, that the defendant is aware of the nature of the charge and

the consequences of the plea, and that his plea of guilty is a knowing and voluntary plea, supported

by an independent basis in fact, containing each of the essential elements of the offense.

Accordingly, the court accepts the plea of guilty entered by Defendant Jared Capizzi on November

13, 2007, and he is hereby adjudged guilty of the offense charged in Count One of the Indictment,

which is a violation of 18 U.S.C. § 371 (18 U.S.C. §§ 471 and 472), namely, conspiracy to make,

possess, and utter counterfeit obligations. Sentence will be imposed in accordance with the court's

scheduling order.




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     It is so ordered this 14th day of December, 2007.



                                                 _________________________________
                                                 Sam A. Lindsay
                                                 United States District Judge




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